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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



 Linda Tirado

                Plaintiff,                                   Case No. 20-CV-01338 (JRT-JFD)

         vs.

 City of Minneapolis; Interim                           STIPULATION OF DISMISSAL
 Minneapolis Chief of Police Amelia                          WITH PREJUDICE
 Huffman, in her official capacity; Andrew
 Braun, in his individual and official
 capacities, and Minneapolis Police
 Department Officer John Doe #1, in his
 official and individual capacities.

                 Defendants.


       The parties, by and through their undersigned counsel, stipulate that the Court may dismiss

all claims and parties, including John Doe #1, with prejudice and without costs or fees to any party.
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